Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 1 of 13




            Exhibit P-6
      Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 2 of 13




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

____________________________________
                                    :
SUSAN BYRNE,                        :           C.A. NO. 3:17-CV-01104 (VLB)
         Plaintiff                  :
v.                                  :
                                    :
YALE UNIVERSITY,                    :
           Defendant                :           DECEMBER 30, 2019
___________________________________ :


         Plaintiff’s Objections to Defendant’s Proposed Jury Instructions

      Plaintiff submits the following objections to Defendant’s proposed jury

instructions. Plaintiff incorporates her proposed jury instructions, and the

authority cited herein, to the extent that Defendant’s proposed instructions

deviate from or contradict Plaintiff’s proposed instructions.

Requested Instruction No. 1

      Plaintiff objects to the proposed instruction as it ignores the motivating

factor standard for pretext under Connecticut Fair Employment Practices Act

(“CFEPA”). As this court has stated, “[t]he Connecticut Supreme Court has not

been determined whether Nassar affects the causation standard of claims under

the CFEPA, and federal courts in this district have not agreed upon a resolution

of their own … This Court, however, has held that it will apply the lower standard

applicable under Connecticut law prior to Nassar.” Vogel v. CA, Inc., 2015 U.S.

Dist. LEXIS 157068, at *9 (D. Conn. Nov. 20, 2015) (internal citations removed).




                                         1
       Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 3 of 13




Requested Instruction No. 1.1

       Plaintiff objects to the proposed instruction to the extent it misstates the

standard for protected activity for retaliation claims pursuant to Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq. (“Title VII”) and

CFEPA and also on the basis that the instruction ignores the participation clause

in Title VII.

       There is no requirement that Plaintiff’s belief that the conduct she opposed

was “objectively reasonable” which Defendant’s instructions erroneously define

as “if a reasonable person in the same circumstances would have believed that

the activity [ ] complained about was discriminatory.” Case law by the Second

Circuit does not support this instruction. See Summa v. Hofstra University, 708

F.3d 115, 126 (2d Cir. 2013) (internal citations removed) (“To establish that she

engaged in protected activity, [plaintiff] need not establish that the conduct she

opposed was actually a violation of Title VII, but only that she possessed a good

faith, reasonable belief that the underlying employment practice was unlawful

under that statute.”).

       Second, Defendant’s instruction entirely ignores that protected activity

under Title VII and CFEPA includes participation in investigations. See Crawford

v. Metropolitan Government of Nashville & Davidson County, 555 U.S. 271, 274

(2009) (“Title VII antiretaliation provision has two clauses, making it an unlawful

employment practice for an employer to discriminate against any of his

employees because he has opposed any practice made an unlawful employment

practice by this subchapter, or because he has made a charge, testified, assisted,



                                           2
      Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 4 of 13




or participated in any manner in an investigation, proceeding, or hearing under

this subchapter." 42 U.S.C. § 2000e-3(a).”); Littlejohn v. City of New York, 795 F.3d

297, 316 (2d Cir. 2015) (same).

Requested Instruction No 1.2

      Plaintiff objects to the proposed instruction to the extent that it includes

language instructing the jury that whether individuals in the Department knew of

Plaintiff’s protected activity is required to satisfy the knowledge requirement for a

retaliation claim. Corporate knowledge is sufficient to satisfy the knowledge

prong of a retaliation claim, Defendant’s instruction regarding individual

knowledge is unnecessary. See Kwan v. Andalex Group, LLC, 737 F.3d 834, 844

(2d Cir. 2013) (quoting Gordon v. N.Y.C. Bd. of Educ., 232 F.3d 111, 116 (2d Cir.

2000)) (internal citations removed) ("Neither [the Second Circuit] nor any other

circuit has ever held that, to satisfy the knowledge requirement, anything more is

necessary than general corporate knowledge that the plaintiff has engaged in a

protected activity.").

Requested Instruction No. 1.4

      Plaintiff objects to the proposed instruction to the extent that it conflates

and merges the standard for causation and Plaintiff’s ultimate burden.

Defendant’s proposed instruction does not mention the different standards under

CFEPA and Title VII for Plaintiff’s ultimate burden. See Zarda v. Altitude Express,

855 F.3d 76, 81-82 (2d Cir. 2017) (In Title VII discrimination claim the district court

erred by instructing jury on "but-for" standard for state law claim when

motivating factor was the appropriate standard). See also, supra, Vogel at * 9.



                                           3
      Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 5 of 13




      Plaintiff also objects to Defendant’s proposed instruction because it adds

an additional burden for the Plaintiff - she must show that Defendant’s proffered

non-retaliatory reason is false. As the Second Circuit has made clear, there are

numerous ways a Plaintiff may show but-for pretext, but a Plaintiff is not required

to show falseness in the proffered reason to meet her ultimate burden. See Kwan

v. Andalex Group, LLC, 737 F.3d 834, 846 (2d Cir. 2013) (“A plaintiff may prove

that retaliation was a but-for cause of an adverse employment action by

demonstrating weaknesses, implausibilities, inconsistencies, or contradictions in

the employer's proffered legitimate, non5 retaliatory reasons for its action. From

such discrepancies, a reasonable juror could conclude that the explanations were

a pretext for a prohibited reason.”). See also Henry v. Wyeth Pharmaceuticals,

Inc., 616 F.3d 134, 156 (2d Cir. 2010) (internal citations removed) (For Title VII

discrimination claim, a plaintiff has no obligation to prove that the employer's

innocent explanation is dishonest, in the sense of intentionally furnishing a

justification known to be false.").

      Plaintiff objects to Defendant’s instruction to the extent it provides

incomplete instructions regarding the knowledge of Defendant’s agents and its

impact on the causation prong. Even if Defendant’s agents claimed lack of

knowledge of Plaintiff’s protected activities as evidence of a lack of causation,

the jury can still find retaliation if the circumstances show that there actually was

knowledge of the protected activity or the agent is acting, explicitly or implicitly

on a superior’s orders who does have knowledge. Gordon v. New York City

Board of Education, 232 F.3d 111, 117 (2d Cir. 2000). See also Henry v. Wyeth



                                           4
      Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 6 of 13




Pharmaceuticals, Inc., 616 F.3d 134, 148 (2d Cir. 2010) (inclusion of same on jury

instruction).

      Lastly, Plaintiff objects to Defendant’s instruction that, “if you find that

Professor Byrne made complaints about alleged discrimination and those

complaints were a substantial element in the negative tenure vote… you must still

find for Yale University.” This instruction is incorrect in that it suggests that

Plaintiff needs to prove that the only motivation for the negative tenure vote was

a retaliatory animus. "[B]ut-for" causation does not require proof that retaliation

was the only cause of the employer's action, but only that the adverse action

would not have occurred in the absence of the retaliatory motive.” Kwan v.

Andalex Group, LLC, 737 F.3d 834, 846 (2d Cir. 2013).



Requested Instruction No. 2

      Plaintiff objects to the proposed instruction to the extent that it misstates

the law regarding an employer’s good faith belief. The good faith defense has not

been recognized by the Second Circuit for Title VII retaliation claims, it has only

been recognized by district courts for FMLA interference claims. See Poitras v.

Connecticare, Inc., 206 F.Supp. 3d 736, 746 (D.Conn. June 30, 2016) (“the Court

has not identified any Second Circuit cases discussing or approving of this

defense in the context of an FMLA interference claim.”). See also Defendant’s

Proposed Jury Instruction – Requested Instruction No. 2 (no cases cited from

Second Circuit in support of good faith belief instruction).




                                           5
       Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 7 of 13




       This instruction creates another step in the burden shifting scheme. Under

Defendant’s proposed instruction, after plaintiff meets their ultimate burden of

demonstrating pretext, Defendant would then have an opportunity to override

Plaintiff’s evidence of pretext. Defendant’s instructions state that plaintiff’s

evidence regarding pretext cannot be considered pretext as long as defendant

had a “reasonable, honest belief” for their decision. This is entirely wrong as

plaintiff is given an opportunity to present evidence negating this “reasonable,

honest belief.” Poitras v. Connecticare, Inc., 206 F.Supp. 3d 736, 746-47 (D.Conn.

June 30, 2016). See Agugliaro v. Brooks Bros., 927 F. Sup. 741, 747 (S.D.N.Y.

1996) (granting summary judgment for defendant in discrimination case due to

plaintiff's inability to present evidence rebutting defendant's good faith belief

defense).

       Furthermore, this proposed instruction creates an additional requirement

for plaintiff that she prove the falsity in defendant’s decision in order to prevail on

her retaliation claim. This is not an actual requirement – as the Second Circuit

stated in Summa v. Hofstra University, 708 F.3d 115 (2d Cir. 2013), “[i]n this

Circuit, it is settled that a plaintiff in a Title VII action need not disprove a

defendant's proffered rationale for its adverse actions in order to prevail." Id. at

129.



Requested Instruction No. 3




                                             6
      Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 8 of 13




      Plaintiff objects to this proposed instruction to the extent that it suggests

that Plaintiff will be mounting the argument that she had a personal, subjective

belief that she was retaliated against. This instruction assumes an argument by

Plaintiff which has not been asserted.

      This instruction has no basis in law as a legal standard for Title VII or

CFEPA retaliation claims. The law regarding the first element of Plaintiff’s prima

facie case, protected activity, is well established and there is no need for the

court to add additional requirements. See Summa v. Hofstra University, 708 F.3d

115, 126 (2d Cir. 2013) ("To establish that she engaged in protected activity,

[Plaintiff] "need not establish that the conduct she opposed was actually a

violation of Title VII, but only that she possessed a good faith, reasonable belief

that the underlying employment practice was unlawful under that statute.").




Proposed Instruction No. 4

      Plaintiff objects to Defendant’s proposed instruction as it imposes an

additional requirement. Defendant’s proposed instruction tells the jury that they

must defer to Defendant’s academic judgment – there is no basis in retaliation or

breach of contract law for this instruction.

      As the Connecticut Supreme Court stated, a "university cannot claim the

benefit of the contract it drafts but be spared the inquiries designed to hold the

institution to its bargain." The principle of academic freedom does not preclude

us from vindicating the contractual rights of a plaintiff who has been denied



                                          7
      Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 9 of 13




tenure in breach of an employment contract.” Craine v. Trinity College, 259 Conn.

625, 654 (2002). See Rafalko v. University of New Haven, 129 Conn. App. 44, 48

(2011) (same). Similarly, in Zahorik v. Cornell University, 729 F.2d 85 (2d Cir.

1984), the Second Circuit instructed that “Tenure decisions are not exempt under

Title VII, however, and plaintiffs seeking to show that forbidden purposes lurk in a

tenure decision have available methods of challenging such decisions.

Departures from procedural regularity .... Conventional evidence of bias on the

part of individuals involved may also be available.” Id. at 93.



Proposed Instruction No. 5

      Plaintiff objects to Defendant’s proposed instruction to the extent that it

misstates the law regarding negligent misrepresentation. As the Connecticut

Supreme Court stated, “an action for negligent misrepresentation requires the

plaintiff to establish (1) that the defendant made a misrepresentation of fact (2)

that the defendant knew or should have known was false, and (3) that the plaintiff

reasonably relied on the misrepresentation, and (4) suffered pecuniary harm as a

result.” Nazami v. Patrons Mutual Ins. Co., 280 Conn. 619, 626 (2006). See Sturm

v. Harb Development, LLC, 298 Conn. 124, 143-44 (2010) (negligent

misrepresentation is when “one, who in the course of his business, profession or

employment … supplies false information for the guidance of others in their

business transactions, is subject to liability for pecuniary loss caused to them by

their justifiable reliance upon the information, if he fails to exercise reasonable

care or competence in obtaining or communicating the information.”).



                                          8
     Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 10 of 13




Requested Instruction No. 6

      Plaintiff objects to Defendant’s proposed instruction because it provides

an incomplete description of the required elements of plaintiff’s breach of

contract claims. Defendant’s instruction does not include that plaintiff alleges

that she had an employment contract with defendant, the nature of the breach

that plaintiff alleges, or that plaintiff claims that she has been damaged by

defendant’s material breach of the employment contract. See Connecticut Jury

Instructions 4.1-15 Breach of Contract.

Requested Instruction No. 7

      Plaintiff objects to this proposed instruction to the extent that it suggests

that Plaintiff has proposed that a form of relief be that the jury change the terms

of the contract.



Requested Instruction No. 8



      Plaintiff objects to this proposed instruction to the extent that it purports to

accurately describe a material breach. Defendant lists a variety of circumstances

that the jury is to consider in determining whether the breach is material. The

multi-factor test that Defendant purports must be applied is not a rule, but rather

a set of circumstances that are applied differently depending on the facts of the

case. Strouth v. Pools by Murphy & Sons, Inc., 79 Conn. App. 55, 60 (2003). See




                                          9
     Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 11 of 13




Clem Martone Construction, LLC v. DePino, 145 Conn. App. 316, 337 (2013)

(same).



Requested Instruction No. 12



      Plaintiff objects to the characterization of emotional distress damages as

“damages related to Professor Byrne’s alleged emotional upset.” Plaintiff also

objects to the omission of loss of enjoyment of life as a category of

compensatory damages that Plaintiff has claimed pursuant to her negligent

misrepresentation, Title VII and CFEPA retaliation claims.



Requested Instruction No. 15

      Plaintiff objects to the instruction to the extent it that Defendant has

attempted to insert more requirements than what the Second Circuit requires for

Title VII retaliation punitive damage awards. Contrary to Defendant’s instruction,

there is no requirement that the jury find that “Yale University did not act in a

good faith attempt to comply with the law by adopting policies and procedures

designed to prohibit such retaliation” in order to award punitive damages. As

the Second Circuit explained, “[p]unitive damages are available under Title VII in

cases where "the employer has engaged in intentional discrimination and has

done so 'with malice or with reckless indifference to the federally protected rights

of an aggrieved individual.” Zimmermann v. Associates First Capital Corp., 251

F.3d 376, 384 (2d Cir. 2001).



                                          10
      Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 12 of 13




      Plaintiff also objects to defendant's instructions that "an employer may not

be held liable for punitive damages because of retaliatory acts by its managerial

employees where those acts are contrary to the employer's good faith efforts to

comply with the law." The Second Circuit has found that there was sufficient

evidence to support an award of punitive damages where a victim of harassment

notified company officials of the harassment for over a year before Defendant

took action. Cush-Crawford v. Adchem Corp., 271 F.3d 352, 359 (2d Cir. 2001).

See Dymskaya v. Orem's Diner of Wilton, Inc., Docket No. 3:12-cv-00388 (JAM),

2015 U.S. Dist. LEXIS 28891, at *20 (D. Conn. Mar. 10, 2015) (“Numerous courts

have upheld jury punitive damages awards where the employer's managers knew

(or should have known) of discriminatory conduct occurring in the workplace but

failed to take adequate steps to address the situation over extended periods of

time.”).




      Plaintiff objects to Defendant’s characterization and description of whether

punitive damages are “outrageous”, “maliciously done”, “wantonly done” or

“oppressively done”, to the extent the descriptions are not supported or required

by law. See 42 U.S.C.S. § 1981a(b)(1) (“A complaining party may recover punitive

damages under this section against a respondent … if the complaining party

demonstrates that the respondent engaged in a discriminatory practice or

discriminatory practices with malice or with reckless indifference to the federally

protected rights of an aggrieved individual.”). See also, supra.



                                         11
     Case 3:17-cv-01104-VLB Document 98-21 Filed 12/30/19 Page 13 of 13




      Plaintiff objects to Defendant’s characterization in its proposed instruction

that the law does not look with favor on punitive damages. Plaintiff also objects

to the characterization of punitive damages an “extraordinary damage[ ].”



                                                   Respectfully submitted,



                                      By:           /s/ Claire M. Howard
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                                        12
